                 UNITED STATES COURT OF INTERNATIONAL TRADE
                 BEFORE: HON. TIMOTHY C. STANCEU, SENIOR JUDGE



 ZOETIS SERVICES LLC,


                         Plaintiff,                    Court No. 22-00056


        v.


 UNITED STATES,


                         Defendant.


                                        ERRATA SHEET

       Pursuant to Paragraph 4(d) of Administrative Order No. 02-01 for the U.S. Court of

International Trade, below is a list of each amendment or correction to the original Complaint that

is included in the Amended Complaint:

       1. On page 1, the assigned judge and case number were added.

       2. On page 1, “Complaint” was replaced with “Amended Complaint”.

       3. On page 1, “for its complaint against the United States alleges as follows:” was replaced

             with “for its amended complaint against the United States alleges as follows:”.

       4. On page 2, paragraph 8 was added.

       5. On page 2, paragraph 9 (formerly paragraph 8) was amended to read: “In its imported

             condition, the CTC Concentrate consists of Chlortetracycline (the only active

             ingredient), mycelial cake, microbial cells, residual nutrients, other fermentation

             components, and metabolic products.”




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6. On page 2, paragraph 10 (formerly paragraph 9) was amended to read: “A mycelial

   cake serves as the primary carrier medium for the Chlortetracycline antibiotic.”

7. On page 2, paragraph 11 was added.

8. On page 2, paragraph 12 (formerly paragraph 10) was amended to add an “s” to

   “kilogram.”

9. On page 2, paragraph 13 (formerly paragraph 11) was amended to read: “The CTC

   Concentrate imported under the entry at issue in this litigation had an antibiotic potency

   between 23.8% and 24.7%.”

10. On pages 2-3, paragraph 14 was amended to read: “The Chlortetracycline in the CTC

   Concentrate is a result of a fermentation process where certain complexing agents (i.e.,

   calcium carbonate in the form of hydrated lime) compound with the Chlortetracycline

   at stable pH ranges to facilitate the post-importation processing and veterinarian

   directed delivery to livestock.”

11. On page 3, paragraph 16 (formerly paragraph 13) was amended to include “Center for”

   before “Veterinary Medicine.”

12. On page 3, paragraph 21 (formerly paragraph 18) was amended to include “(carriers)”

   before “via” and “and/or a mixing process” before “to create.”

13. On pages 3-4, paragraph 22 (formerly paragraph 19) was amended to read: “After the

   post-importation processes, Zoetis markets and sells the finished products made with

   CTC Concentrate, and, sometimes, other antibiotics such as Sulfamethazine, as

   Aureomycin® (NADA 48-761), Aureomix® S40/40 (NADA 35-688), AUREO S

   700® (NADA 35-805), and ChlorMax® (NADA 46-699).”




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14. On page 4, paragraph 23 (formerly paragraph 20) was amended to strike the word

   “Feed” before “Type-A Medicated”; to add footnote 1; to strike “FDA licensed”; and

   to add “(directly or through distributors)”.

15. On page 4, paragraph 24 (formerly paragraph 21) was amended to strike the word

   “Feed” before “Type-A Medicated”; and to replace “Aug. 28, 2021” with “Sept. 22,

   2023.”

16. On page 4, paragraph 25 (formerly paragraph 22) was amended to read: “Type-C

   Medicated Feeds containing CTC Concentrate contained in Type A medicated articles

   are manufactured at feed mills and are only used under the oversight of veterinarians.”

17. On page 5, the heading for Count I was amended by replacing “Pursuant to GRI 1”

   with “Under HTSUS Subheading 2941.30.00”.

18. On pages 5-9, paragraphs 34-58 were added.

19. On page 9, Count II was amended to read: “Classification of the CTC Concentrate

   Under HTSUS Subheading 3003.20.00 Pursuant to GRI 1 (in the alternative).”

20. On page 9, paragraphs 59-60 were added.

21. On pages 9-10, paragraph 64 (formerly paragraph 34) was amended to replace “Aug.

   28, 2021” with “Feb. 7, 2024” and to add “(last visited Feb. 7, 2024)” after

   “http://www.merriam-webster.com/dictionary/medicament)”.

22. On pages 11-12, paragraph 69 (formerly paragraph 39) was amended to include

   paragraph breaks (***) between the paragraphs in the block quote; and to add the

   following (which includes footnote 2): “See also Nutricia North America, Inc. v. United

   States, No. 16-00008 (Ct. Int’l Trade Dec. 4, 2023) (“A food or beverage intended to

   treat a specific disease or ailment is not within [the] scope [of Headings 3003 or 3004],


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   unless it is based on a ‘medicinal substance’ that, as instructed by [Explanatory Note]

   30.03 and [Explanatory Note] 30.04, is not ‘added solely to ensure a better dietetic

   balance, to increase the energy-giving or nutritional value of the product or to improve

   its flavour.’”).”

23. On page 12, paragraph 72 (formerly paragraph 42) was amended to read: “The subject

   CTC Concentrate consists of Chlortetracycline (the only active ingredient) mixed with

   mycelial cake, microbial cells, residual nutrients, other fermentation components, and

   metabolic products.”

24. On page 12, paragraph 73 (formerly paragraph 43) was amended to read: “Because the

   CTC Concentrate consists of Chlortetracycline that has been mixed with multiple

   components (i.e., mycelial cake, microbial cells, residual nutrients, other fermentation

   components, and metabolic products), it consists of ‘two more or more constituents

   which have been mixed together.’”

25. On page 13, Count II was amended to read: “COUNT III. Classification of the CTC

   Concentrate Under HTSUS Subheading 3003.20.00 Pursuant to GRI 3(a) (in the

   alternative)”.

26. On page 13, paragraph 79 (formerly paragraph 49) was amended to read: “If the CTC

   Concentrate is not determined to be classified under HTSUS Subheading 3003.20.00

   pursuant to GRI 1, then the tariff classification of such articles is determined according

   to GRI 3.”

27. On page 14, Count III was amended to read: “COUNT IV. Classification of the CTC

   Concentrate Under HTSUS Subheading 3003.20.00 Pursuant to GRI 3(b) (in the

   alternative)”.


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28. On page 15, paragraph 90 (formerly paragraph 60) was amended to read: “If the CTC

   Concentrate is not determined to be classified under HTSUS Subheading 3003.20.00

   pursuant to GRI 1 or GRI 3(a), then the tariff classification of such articles is

   determined according to GRI 3(b).”

29. On page 15, paragraph 93 (formerly paragraph 63) was amended to strike “Feed”

   before “Type-A Medicated”.

30. On page 15, paragraph 97 (formerly paragraph 67) was amended to strike “Feed”

   before “Type-A Medicated” and to replace “CTC” (after “medicament,”) with

   “Chlortetracycline.”

31. On page 16, paragraph 98 (formerly paragraph 68) was amended to replace “CTC”

   (after “The”) with “Chlortetracycline”.

32. On page 16, paragraph 99 (formerly paragraph 69) was amended to read: “The majority

   of the weight and value of the CTC Concentrate is provided by the Chlortetracycline

   and the other ingredients in the CTC Concentrate have minimal or no nutritional value.”

33. On page 16, paragraph 100 (formerly paragraph 99) was amended to read: “Based on

   the nature of the Chlortetracycline and its value in relation to the function of the CTC

   Concentrate, Chlortetracycline, as a medicament, provides the essential character to the

   CTC Concentrate.”

34. On page 16, Count IV was amended to read: “COUNT IV. Classification of the CTC

   Concentrate Under HTSUS Subheading 3003.20.00 Pursuant to GRI 3(c) (in the

   alternative)”.

35. On pages 16-17, paragraph 104 (formerly paragraph 74) was amended to read: “If the

   CTC Concentrate is not determined to be classified under HTSUS Subheading


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   3003.20.00 pursuant to according to GRI 1, GRI 3(a), or GRI 3(b) of the HTSUS, then

   the tariff classification of such articles is determined according to GRI 3(c).”

36. On page 18, paragraph b of the Request for Relief was amended to read: “b)

   determining that the subject CTC Concentrate at issue in this action is properly

   classified under HTSUS subheading 2941.30.00, as set forth by Plaintiff in Count I, or,

   alternatively, HTSUS subheading 3003.20.00, as set forth by Plaintiff in Counts II

   through IV;”

37. On page 18, in the signature block, “191 N. Wacker Dr. Suite 3700” was replaced with

   “320 S. Canal Street, Suite 3300”.




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